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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

vs                                                Case No: 06-20366
                                                  Honorable Victoria A. Roberts

D-1    ANTHONY MICHAEL HACHEM,

     Defendant.
_____________________________________/


                        ORDER STRIKING PRO SE FILINGS BY
                             A REPRESENTED PARTY


       Defendant Anthony Michael Hachem has submitted a Request for Inspection of

Federal Grand Jury Minutes and a Request for Bill of Particulars in Pro Se.

       Federal law permits a criminal defendant to appear “personally or by counsel.”

28 U.S.C. §1654. This right is “disjunctive; a party may either represent himself or

appear through an attorney.” Hall v Dorsey, 534 F. Supp. 507, 508 (E.D. Pa 1982).

       There is no right, constitutional or otherwise, to “hybrid representation - the

representation at the same time by counsel and pro se.” United States v Trapnell, 638

F. 2d 1016, 1027 (7th Cir. 1980). Therefore, as part of the latitude accorded district

courts in managing their dockets, courts may bar pro se filings by represented parties.

United States v Agofsky, 20 F. 3d 866, 872 (8th Cir. 1994) (finding no error in the court’s

refusal to consider pro se motion where defendant was represented by counsel); United

States v Tracy, 989 F. 2d 1279, 1285 (1st Cir. 1993) (“A district court enjoys wide


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latitude in managing its docket and can require represented parties to present motions

through counsel.”)

       Accordingly, Defendant’s above named requests are STRICKEN and forwarded

to defendant’s counsel without further consideration. Future filings are similarly barred

so long as defendant continues to be presented by counsel.

       IT IS SO ORDERED.




                                                 S/Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge

Dated: October 19, 2006

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 October 19, 2006.

 S/Carol A. Pinegar
 Deputy Clerk




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